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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
_____________________________________
                                                )
IN RE APHRIA, INC. SECURITIES                   )
LITIGATION                                      )   Case No. 18 Civ. 11376 (GBD)
                                                )
                                                )   CLASS ACTION
                                                )
                                                )   [PROPOSED] ORDER GRANTING
                                                )   PLAINTIFFS’ MOTION FOR
                                                )   RECONSIDERATION
                                                )
                                                )


         On this day, the Court having considered Lead Plaintiff Shawn P. Cunix’s and Plaintiff

Elizabeth Alexander’s (“Plaintiffs”) Motion for Reconsideration, all the papers and arguments

submitted in connection therewith, the pleadings and filings in the above-captioned action, and all

other matters properly before the Court:

         IT IS HEREBY ORDERED that Plaintiffs’ Motion for Reconsideration of the Court’s

Memorandum Decision and Order (ECF No. 138) is GRANTED; and

         IT IS FURTHER HEREBY ORDERED that Defendant Andrew DeFrancesco’s Motion to

Dismiss Plaintiffs’ Amended Complaint (ECF No. 108) is DENIED in its entirety;

         IT IS SO ORDERED.


Dated:
                                             HONORABLE GEORGE B. DANIELS
                                             UNITED STATES DISTRICT COURT JUDGE
